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                             EXHIBIT A
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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

  AZURITY PHARMACEUTICALS, INC.,

                 Plaintiff,

  v.                                                        C.A. No. 21-196 (MSG)

  ANNORA PHARMA PRIVATE LIMITED,
  and CAMBER PHARMACEUTICALS, INC.

                 Defendant.




       DEFENDANTS’ SECOND SUPPLEMENTAL OBJECTIONS AND RESPONSE
                    TO AZURITY’S INTERROGATORY NO. 5

        Defendants Annora Pharma Private Limited (“Annora”) and Camber Pharmaceuticals,

 Inc. (“Camber”) (collectively “Defendants”), by and through their undersigned counsel, hereby

 provide a second supplemental response to Plaintiff Azurity Pharmaceuticals, Inc.’s (“Azurity”)

 Interrogatory No. 5.

        The responses herein are based on information presently available to Defendants.

 Defendants are still engaged in discovery and investigation of this matter, the results of which

 may alter, modify, and/or add to some of the responses set forth herein. Defendants expressly

 reserve the right to supplement, amend, or otherwise modify their responses as discovery

 proceeds, including based on information obtained through fact and expert discovery, or upon

 further investigation.

        Defendants provide the responses and objections set forth below without waiver of and

 with preservation of: (a) all questions as to competency, relevancy, materiality, privilege, and

 admissibility of any response, document, or thing, and the subject matter thereof, as evidence for

 any purpose and in any further proceeding in this action and in any other action; (b) the right to
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 object to the use of any response, document, or thing, or the subject matter thereof, on any

 ground in any further proceeding in this action and any other action; (c) the right to object on any

 ground at any time to any other discovery requests involving or related to the subject matter of

 the discovery to which these responses, documents, or things are provided; and (d) the right at

 any time to review, correct, add to, supplement, or clarify any of the responses contained herein

 at any time.

                  OBJECTIONS TO DEFINITIONS AND INSTRUCTIONS

        Defendants incorporate by reference the objections to the definitions and instructions set

 forth in its Annora’s Objections and Responses to Plaintiff Azurity Pharmaceuticals Inc.’s First

 Set of Requests for Production and Azurity’s First Set of Interrogatories, as well as Defendants’

 Responses to Azurity’s Second Set of Requests for Production as if set forth fully herein.

                                INTERROGATORY RESPONSES

 INTERROGATORY NO. 5:

        Describe in detail, in claim chart form, the factual and legal bases and supporting
 evidence for your contention that you do not infringe, either literally or under the doctrine of
 equivalents, induce the infringement of, or contribute to the infringement of, any claim of the
 Asserted Patents, including but not limited to for each limitation in each claim of the Asserted
 Patents that you contend is missing, identify all documents (by Bates Number), things, and
 witnesses (by name) that support your contention.

 DEFENDANTS’ SECOND SUPPLEMENTAL RESPONSE:

        Defendants incorporate Annora’s previously lodged Objections to the Definitions and

 Instructions, and further object to this Interrogatory to the extent it seeks information protected

 by the attorney-client privilege, the attorney work product doctrine, and/or other applicable

 privileges. Defendants further object to this Interrogatory as overly broad, unduly burdensome

 and not proportional to the needs of the case after having considered the factors set forth in Fed.

 R. Civ. P. 26(b)(1). Defendants further object to this Interrogatory on the grounds that it is

                                                   2
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 compound and contains numerous discrete subparts that are not properly propounded as a single

 interrogatory. Defendants object that this interrogatory is a premature to the extent it purports to

 place the burden of demonstrating non-infringement on Defendants, as well as to the extent it

 seeks expert discovery before the commencement of expert discovery pursuant to the Court’s

 Scheduling Order and Fed. R. Civ. P. 26(a)(2), 26(b)(4)(A). Further, discovery in this case is

 still in its initial stages, and Defendants have yet to receive many important documents they

 requested long ago, including documents from related litigations.

        Subject to and without waiving the foregoing objections, and based upon a reasonably

 diligent investigation that is ongoing, Defendants incorporate by reference Defendants’ May 25,

 2022, Joint Invalidity Contentions which explain that claims 1-5, 8-18, 21-25, 28-30 of U.S.

 Patent Nos. 10,772,868 (“the ’868 patent”) and claims 1-14 of U.S. Patent No. 10,799,476 (“the

 ’476 patent”) (collectively “the Asserted Claims”) are invalid under each of 35 U.S.C. §§ 103

 (obviousness) and 112 (lack of written description, lack of enablement, and/or indefiniteness).

 Defendants do not infringe the Asserted Claims because, for the reasons explained therein, the

 Asserted Claims are invalid.

        In addition, Defendants do not bear the burden of demonstrating non-infringement and

 leave Plaintiff to its burden of proof. Defendants note that Azurity has only alleged literal

 infringement and does not set forth any bases for infringement under the doctrine of equivalents.

        All of the Asserted Claims require a specific buffer concentration of between about 5 mM

 to about 20 mM. As explained in Defendants’ Joint Invalidity Contentions, a POSA would not

 understand the scope of this claim limitation and, in particular, how to assess this singular buffer

 concentration when the buffer is comprised of a combination of conjugate acid/base pairs having

 different physical and chemical properties. For at least this reason, Azurity has failed to



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 demonstrate Defendants’ infringement of these claims. Similarly, with respect to claim 6 of the

 ’476 patent, Azurity has not demonstrated that the Annora ANDA No. 214467 Product contains

 buffer at a concentration of “about 10 mM.” Further, with respect to claim 7 of the ’476 patent,

 Azurity has not demonstrated that the Annora ANDA Product contains buffer at a concentration

 of “about 11 mM.”

        With respect to asserted claims 11-12 and 24-25 of the ’868 patent, and claims 12-13 of

 the ’476 patent, Azurity has not identified any evidence demonstrating that Annora’s ANDA No.

 214467 Product has the requisite stability at 18 and 24 months.

        With respect to claims 10 and 23 of the ’868 patent, Azurity has not demonstrated that

 the Annora ANDA No. 214467 Product satisfies the requirement of a pH of about 3.3. See, e.g.,

 ANNENAL00000570 (listing the target pH as “Between 3.15 and 3.55”); ANNENAL00004820

 (showing Annora ANDA product at pH values other than “about 3.3”), ANNENAL00004826

 (same); ANNENAL00004832 (same).

        Azurity has relied on anticompetitive and improper means to maintain its monopoly

 position in the market for ready-to-use oral solutions of enalapril. For example, Azurity asserts

 ’476 patent, which did not exist when Annora developed its formulation. Azurity sought the

 claims that issued in the ’476 patent only after it learned of the formulation Annora developed

 for its ANDA product. Annora’s formulation does not appear anywhere in the patent application

 from which the ’476 patent claims priority, and Azurity learned the details of that formulation

 solely as a result of Annora’s regulatory obligation to provide Azurity with a detailed description

 of the reasons why its product did not infringe Azurity’s earlier-issued patents. In addition, the

 Court has already entered judgment that Annora’s ANDA formulation does not infringe the

 patents that Azurity originally asserted against Annora.



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        Azurity also asserts the ’868 patent, which bears no relation to the formulation described

 in the patent application from which the ’868 patent claims priority. Instead, the application is

 directed to a very specific formulation of buffering agents and preservative combined at specific

 concentrations and at a specific pH. The claims in the ’868 patent are very different than the

 specific formulations disclosed in the underlying application. Despite the disconnect between

 the claims Azurity now asserts and the specific formulations disclosed in the patent application,

 Azurity continues to assert these patents against Defendants, without any objective basis to

 believe they are not invalid, particularly in view of the Court’s findings and guidance set forth in

 its denial of Azurity’s motion for a preliminary injunction. Azurity’s actions constitute bad faith

 and an improper attempt to maintain its monopoly.

        In addition, Azurity has conducted anticompetitive activities by filing a Citizen’s Petition

 with the U.S. Food and Drug Administration in concert with its patent litigation activities that

 urged FDA to prohibit Defendants and other generic drug companies from marketing their

 products. In its petition, Azurity advanced arguments related to the impact of any changes in the

 excipients of the Epaned® formulation that are irreconcilable with any positions that Azurity

 could take to suggest that the patent application to which the Asserted Patents claim priority

 supports and enables the claims of the Asserted Patents. See, e.g., Civil Action No. 18-cv-1962,

 Dkt. 268, ¶ 208; SLVGT-RTU-EPA_00005846-SLVGT-RTU-EPA_00005863.

        Further, the private equity firm that owns Azurity, NovaQuest, purchased a supplier of a

 generic drug company to artificially and improperly preserve its monopoly position for ready-to-

 use formulations of enalapril. Bionpharma, the first drug company to file an ANDA for a ready-

 to-use enalapril formulation, launched its ANDA product in the summer of 2021. Bionpharma

 relied upon a third-party vendor, CoreRx, Inc., to supply of its product to prevent Bionpharma



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 from supplying its enalapril formulation, NovaQuest acquired CoreRx. Specifically, upon

 information and belief, NovaQuest purchased CoreRx to wrongly inhibit Bionpharma from

 selling generic product. And, upon information and belief, its effort did succeed to at least some

 extent. After NovaQuest acquired CoreRx and installed interested Azurity personnel on the

 board of CoreRx, it caused CoreRx to cease its supply of product to Bionpharma. While

 Bionpharma, through resource-consuming litigation efforts, was able to secure an injunction

 requiring CoreRx to continue at least some of its supply, upon information and belief, Azurity

 maintained an inflated market position as a result of this tortious activity. Upon information and

 belief, this inflated position continued through the time that Defendants began marketing the

 Annora product, which should, inter alia, factor against any request for injunctive relief.

        Defendants reserve the right to supplement, amend, or otherwise modify these

 Contentions as discovery proceeds, including based on information obtained through fact and

 expert discovery, or upon further investigation.

  Date: January 4, 2023                                     BAYARD, P.A.

  Of Counsel:                                               /s/ Ronald P. Golden III
                                                            Stephen B. Brauerman (#4952)
  Todd S. Werner                                            Ronald P. Golden III (#6254)
  William Woodford                                          600 N. King Street, Suite 400
  Avantech Law, LLP                                         Wilmington, Delaware 19801
  80 S 8th St., Suite 900                                   (302) 655-5000
  Minneapolis, MN 55402                                     sbrauerman@bayardlaw.com
  Phone: (855) 750-9951                                     rgolden@bayardlaw.com
  werner@avantechlaw.com
  woodford@avantechlaw.com                                  Attorneys for Defendants




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                             EXHIBIT B
        Case 1:21-cv-00196-MSG Document 181-1 Filed 01/30/23 Page 9 of 58 PageID #: 7394


Kaufman, Granville

From:                             Todd Werner <werner@avantechlaw.com>
Sent:                             Wednesday, January 4, 2023 3:00 PM
To:                               Hanson, Tina; Kaufman, Granville
Cc:                               Nicholas Talarowski; Steve Brauerman; William Woodford; Ronald Golden; Dellinger,
                                  Megan E.; WSGR - Silvergate - Annora RTU Epaned
Subject:                          RE: Azurity/Annora - Motion to Strike



EXT - werner@avantechlaw.com


Tina:

As you know, Azurity’s complaint includes claims for a permanent injunction. Until Azurity’s removes that request,
discovery related to the eBay factors remains relevant. In addition, as we have discussed a number of times, the
information Defendants seek from third parties relates to Azurity’s claims for damages and injunctive relief, as well as
invalidity. After numerous explanations, we do not understand why you attribute this discovery solely to issues raised in
an interrogatory response that your colleague specifically requested. In any event, Defendants cannot agree to the
requests you have outlined in your email at this time.


Todd Werner


werner@avantechlaw.com
LinkedIn | Bio


From: Hanson, Tina <thanson@wsgr.com>
Sent: Tuesday, January 3, 2023 4:43 PM
To: Todd Werner <werner@avantechlaw.com>; Kaufman, Granville <gkaufman@wsgr.com>
Cc: Nicholas Talarowski <NTalarowski@bayardlaw.com>; Steve Brauerman <sbrauerman@bayardlaw.com>; William
Woodford <woodford@avantechlaw.com>; Ronald Golden <rgolden@bayardlaw.com>; Dellinger, Megan E.
<mdellinger@morrisnichols.com>; WSGR - Silvergate - Annora RTU Epaned <silvergate-annora@wsgr.com>
Subject: RE: Azurity/Annora - Motion to Strike

Todd,

As we discussed this morning, in order for us to evaluate your offer below, we have requested that Annora confirm that:
    (1) If Azurity proves infringement and Annora fails to prove its defenses, a 271(e)(4)(A) remedy is mandatory and
        Annora will not raise any objection to that remedy; and
    (2) Upon entry of a Court order instructing that the effective date of FDA approval of Annora’s ANDA is not earlier
        than the date of the expiration of the asserted patents (the 271(e)(4)(A) remedy), Annora and Camber will
        immediately cease marketing and selling the accused ANDA product and will not resume such activities until the
        expiration of the asserted patents.

Please let us know so we may respond to your below email.

Best,
Tina

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Tina Hanson (she/her)| Wilson Sonsini Goodrich & Rosati
One Market│Spear Tower│San Francisco, CA│94105-1126 | direct: 415.947.2048 | thanson@wsgr.com




From: Todd Werner <werner@avantechlaw.com>
Sent: Friday, December 30, 2022 12:20 PM
To: Kaufman, Granville <gkaufman@wsgr.com>
Cc: Nicholas Talarowski <NTalarowski@bayardlaw.com>; Steve Brauerman <sbrauerman@bayardlaw.com>; William
Woodford <woodford@avantechlaw.com>; Ronald Golden <rgolden@bayardlaw.com>; Dellinger, Megan E.
<mdellinger@morrisnichols.com>; WSGR - Silvergate - Annora RTU Epaned <silvergate-annora@wsgr.com>
Subject: Azurity/Annora - Motion to Strike

EXT - werner@avantechlaw.com




Counsel:


As you know, Defendants disagree with the basis of Plaintiffs’ motion to strike, both substantively and procedurally. In
any event, we are still working to find ways to streamline the remaining discovery and obviate the need for further
motion practice (both with respect to this motion and the discovery motion we’ve been discussing for many weeks).



To this end, Defendants would be willing to follow the framework set out in In re Gabapentin Patent Litigation cited by
Plaintiff. Specifically, Defendants would agree to forego any unclean hands, patent misuse, and antitrust defenses with
the understanding that doing so will not prevent Defendants from seeking discovery on the underlying facts and conduct
outlined in its Interrogatory response and offering such evidence in response to any motion for injunctive relief that
Azurity may file in the future (or any other issues for which such evidence is relevant). This is consistent with the In
re Gabapentin case because, while striking the unclean hands defense, the Court confirmed that the underlying facts
remained relevant to the availability of injunctive relief. 648 F. Supp. 2d 641, 651, n.20 (D.N.J. 2009) (The Court notes,
however, that even if Warner–Lambert's admitted marketing misconduct cannot serve as the basis for Defendants'
assertions of unclean hands, evidence of such misconduct may be considered as a factor affecting Warner–Lambert's
ability to obtain a permanent injunction as relief in this proceeding. . . . Defendants' arguments to this effect—that
Warner–Lambert should not be allowed to rely on illegally acquired market share as a basis for injunctive relief and that
it would be inequitable and against public interest to use a permanent injunction to protect Warner–Lambert's ill-gotten
gains—are both relevant and compelling. Such arguments, and the evidence required to support them, are not
determinative at this point of the proceeding but may be considered by the Court at a later stage.”).




Please confirm Plaintiffs agree to this proposal, and, if so, we can moot the motion to strike. The parties can then
proceed to discuss any remaining discovery disputes and present unresolved issues to the Court for resolution.

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Best regards,

Todd Werner

 This message may contain proprietary, confidential, and privileged information. If you are not the intended
 recipient, please contact the sender and permanently delete all copies of this message.




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                             EXHIBIT C
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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

   AZURITY PHARMACEUTICALS, INC.,

                 Plaintiff,

   v.                                                     C.A. No. 21-196-MSG

   ANNORA PHARMA PRIVATE LIMITED
   and CAMBER PHARMACEUTICALS, INC.,

                 Defendants.



                         NOTICE OF SUBPOENA TO CORERX, INC.

         PLEASE TAKE NOTICE, pursuant to Rule 45 of the Federal Rules of Civil Procedure and

  applicable local rules of the District of Delaware, Defendants Annora Pharma Private Limited and

  Camber Pharmaceuticals, Inc. will serve the attached subpoenas duces tecum (Exhibit A) upon

  CoreRx, Inc.

   Date: December 14, 2022                                BAYARD, P.A.

   Of Counsel:                                            /s/ Ronald P. Golden III
                                                          Stephen B. Brauerman (#4952)
   Todd S. Werner                                         Ronald P. Golden III (#6254)
   William Woodford                                       600 N. King Street, Suite 400
   Avantech Law, LLP                                      Wilmington, Delaware 19801
   80 S 8th St., Suite 900                                (302) 655-5000
   Minneapolis, MN 55402                                  sbrauerman@bayardlaw.com
   Phone: (855) 750-9951                                  rgolden@bayardlaw.com
   werner@avantechlaw.com
   woodford@avantechlaw.com                               Attorneys for Defendants
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AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                            DistrictDistrict
                                                       __________    of Delaware
                                                                             of __________

                          Pharmaceuticals, Inc.
                  Azurity Pharmaceuticals, Inc.
                                                                              )
                                                                                                        ne ne nen
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 21-196 (MSG)
                                                                                                        21-196 (MSG)
              .        -           7        ona
                                                                              )
              Annora
              Annora Pharma
                     Pharma Private Ltd.
                                    Ltd. et al.
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
                                                                   ~     an Inc.
To:                                                 tenets         CoreRx, Inc.
                                                                   CoreRx,
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                                                          Myerlake Circle, Clearwater,
                                                    14205 Myerlake Circle, Clearwater, FL
                                                                                              Sm
                                                                                          annng
                                                                                       FL 33760
                                                                                          33760
                                                       (Name of person to whom this subpoena is directed)

    ✔ | 7
    ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
          ~,       Doyen          .
          See attached
material: See          Schedule A
              attached Schedule   A



            2801 N. Florida Ave
               +-N--Florida Ave
 Place: Tampa, FL 33602                                                                 Date and Time:
        Tampa, FL 33602
            (Unless otherwise agreed
                              agreed with
                                     with noticing attorney)
                                          noticing attorney)                                                 niin tinnan mag
                                                                                                             01/04/2023
                                                                                                             01/04/2023 9:00  am
                                                                                                                         9:00 am


     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.
           dat tinany
          12/14/2022
Date:     12/14/2022

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                      rmosy-
                                                                                                                   /s/ Todd  S. Werner
                                                                                                                       Todd S.   Werner
                                           Signature of Clerk or Deputy Clerk                                        Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
       Pharma ~                 Camber   Pharmaceuticals,_Inc.          , who issues or requests this subpoena, are:
                                                                a
Annora
Annora
 ,    1Pharma  Private Ltd.
              Private  Ltd. andLe
                                Camber-_Pharmaceuticals,  Inc.
 ~
 Todd
      pe
 Todd Werner,
      Werner, Avantech Law,
                       Law, 80 south
                               south 8th
                                                  aa
                                         Street, Suite 900,
                                     8th Street,       900, Minneapolis,
                                                                          na ae
                                                            Minneapolis, MN
                                                                         MN 55402,
                                                                                              wipe aan,
                                                                            55402, werner@avantechlaw.com,
                                                                                   werner@avantechlaw.com,
                                                                                                                            ~
 TO
 612-895-2722
 612-895-2722
                                Notice to the person who issues or requests this subpoena
A notice and a copy of the subpoena must be served on each party in this case before it is served on the person to whom
it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 21-196 (MSG)
                 21-196 (MSG)


                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)           CoreRx, Inc.
                                                                                          Amneal Pharmaceuticals, Inc.
                  An      IRARD
on (date)         12/14/2022
                  12/14/2022            .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                      .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                “ey
                                                                                                                                              0.00
                                                                                                                                              0.00    .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:




         Print                         Save As...                  Add Attachment                                                             Reset
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AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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       1:21-cv-00196-MSG  Document 181-1
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                                                                  5 of 6
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                          Schedule
                          Schedule A




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                               DEFINITIONS AND INSTRUCTIONS

         For the purposes of these document requests and wherever used herein, the terms set

  forth below shall have the following meaning:

         1.      “You,” “Your,” or “CoreRx,” means CoreRx, Inc., including any of its past or

  present officers, directors, principals, agents, employees, attorneys, representatives, partners,

  predecessors, subsidiaries, affiliates, divisions, or departments.

         2.      “NovaQuest,” means NovaQuest Capital Management, LLC, including any of its

  past or present officers, directors, principals, agents, employees, attorneys, representatives,

  partners, predecessors, subsidiaries, affiliates, divisions, or departments.

         3.      “Bionpharma,” means Bionpharma, Inc., including any of its past or present

  officers, directors, principals, agents, employees, attorneys, representatives, partners,

  predecessors, subsidiaries, affiliates, divisions, or departments.

                                  REQUESTS FOR DOCUMENTS

        1.     All correspondence between You and Azurity or NovaQuest concerning
  Bionpharma or the supply of ready-to-use enalapril.

         2.      All correspondence within CoreRx regarding the reduction or stoppage of supply
  of ready-to-use enalapril to Bionpharma.

         3.     All correspondence or information exchanged between CoreRx and NovaQuest
  concerning ready-to-use enalapril oral solution before October 26, 2021.




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                             EXHIBIT D
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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

   AZURITY PHARMACEUTICALS, INC.,

                 Plaintiff,

   v.                                                     C.A. No. 21-196-MSG

   ANNORA PHARMA PRIVATE LIMITED                             [FILED UNDER SEAL]
   and CAMBER PHARMACEUTICALS, INC.,

                 Defendants.



        NOTICE OF SUBPOENA TO NOVAQUEST CAPITAL MANAGEMENT, LLC

         PLEASE TAKE NOTICE, pursuant to Rule 45 of the Federal Rules of Civil Procedure and

  applicable local rules of the District of Delaware, Defendants Annora Pharma Private Limited and

  Camber Pharmaceuticals, Inc. will serve the attached subpoenas duces tecum (Exhibit A) upon

  NovaQuest Capital Management, LLC.

   Date: December 14, 2022                                BAYARD, P.A.

   Of Counsel:                                            /s/ Ronald P. Golden III
                                                          Stephen B. Brauerman (#4952)
   Todd S. Werner                                         Ronald P. Golden III (#6254)
   William Woodford                                       600 N. King Street, Suite 400
   Avantech Law, LLP                                      Wilmington, Delaware 19801
   80 S 8th St., Suite 900                                (302) 655-5000
   Minneapolis, MN 55402                                  sbrauerman@bayardlaw.com
   Phone: (855) 750-9951                                  rgolden@bayardlaw.com
   werner@avantechlaw.com
   woodford@avantechlaw.com                               Attorneys for Defendants
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                       EXHIBITA
                       EXHIBIT A
      Case 1:21-cv-00196-MSG Document 181-1 Filed 01/30/23 Page 23 of 58 PageID #: 7408
AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                            DistrictDistrict
                                                       __________    of Delaware
                                                                             of __________
                Azurity Pharmaceuticals, Inc.                                 )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 21-196 (MSG)
              Annora Pharma Private Ltd. et al.                               )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:                                               NovaQuest Capital Management, LLC
                               c/o The Corporation Trust Company, 1209 Orange St., Wilmington, DE 19801
                                                       (Name of person to whom this subpoena is directed)

    ✔
    u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See attached Schedule A



 Place: Bayard, P.A.                                                                    Date and Time:
           600 N. King Street, Suite 400                                                                     01/04/2023 9:00 am
           Wilmington, DE 19801

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:         12/14/2022

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                   /s/ Todd S. Werner
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Annora Pharma Private Ltd. and Camber Pharmaceuticals, Inc.             , who issues or requests this subpoena, are:
Todd Werner, Avantech Law, 80 south 8th Street, Suite 900, Minneapolis, MN 55402, werner@avantechlaw.com,
612-895-2722
                                Notice to the person who issues or requests this subpoena
A notice and a copy of the subpoena must be served on each party in this case before it is served on the person to whom
it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 21-196 (MSG)

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)              NovaQuest Capital Management, LLC

on (date)         12/14/2022            .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
     Case 1:21-cv-00196-MSG Document 181-1 Filed 01/30/23 Page 25 of 58 PageID #: 7410
AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                       Schedule
                       Schedule A




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                                DEFINITIONS AND INSTRUCTIONS

         For the purposes of these document requests and wherever used herein, the terms set

  forth below shall have the following meaning:

         1.      “You,” “Your,” or “NovaQuest,” means NovaQuest Capital Management, LLC,

  including any of its past or present officers, directors, principals, agents, employees, attorneys,

  representatives, partners, predecessors, subsidiaries, affiliates, divisions, or departments.

         2.      “CoreRx” means CoreRx, Inc., including any of its past or present officers,

  directors, principals, agents, employees, attorneys, representatives, partners, predecessors,

  subsidiaries, affiliates, divisions, or departments.

         3.      The term “Epaned Patents” refers to U.S. Patent Nos. 9669008, 9808442,

  10039745, 10154987, 10772868, 10786482, 11040023, 11141405, and 11173141, and any

  Related Patents.

         4.      “Related Patents” means any patents or patent applications that claim priority to a

  common underlying patent applications to the referenced patent, including but not limited to any

  continuation, continuation-in-part, reissue, re-examination, or provisional patents within the

  same patent family as the referenced patent.

         5.      “Annora’s ANDA” means ANDA No. 214467.

         6.      “Annora’s ANDA Product” means the proposed drug product that is the subject of

  ANDA No. 214467.

         7.      “Authorized Generic Enalapril” means any and all ready-to-use oral solutions of

  enalapril that are authorized for sale by Azurity (under an agreement or otherwise), including but

  not limited to the ready-to-use enalapril oral solution marketed by or on behalf of Amneal

  Pharmaceuticals, Inc.




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         8.     “Generic Enalapril” means any ready-to-use oral solution of enalapril that is not

  marketed under the name Epaned®, including but not limited to the ready-to-use enalapril

  solution products that are the subject of ANDAs filed by Bionpharma, Amneal, Annora, Alkem,

  and Aurobindo.

         9.     “Epaned®” refers to the ready-to-use oral solution of enalapril marketed by or on

  behalf of Azurity (including any predecessors) under NDA No. 208686 or any related

  supplemental NDA.

                                 REQUESTS FOR DOCUMENTS

          1.    All documents relating to the Epaned® Patents, including but not limited to any
  documents provided by, or exchanged with, Silvergate Pharmaceuticals, Inc., related to the
  infringement or validity of the Epaned® Patents.

         2.     All documents concerning any valuations of the Epaned® Patents or projected
  revenue and/or profit related to the Epaned® Patents.

         3.      Any valuations of the Epaned® product line, including any analysis of marginal
  revenue, costs, and profits in relation to the acquisition of Silvergate Pharmaceuticals, Inc.

        4.    All documents related to CoreRx’s supply of ready-to-use enalapril to
  Bionpharma.

         5.      All documents related to attempts to reduce, impede, or stop CoreRx’s supply of
  ready-to-use enalapril oral solution products to Bionpharma.

          6.     All documents related to any projected difference in revenue, costs, or profits
  resulting from any changes to CoreRx’s supply of ready-to-use enalapril oral solution products to
  Bionpharma.

        7.    Correspondence between NovaQuest and CoreRx related to enalapril or
  Bionpharma.

         8.     All documents concerning NovaQuest’s decision to acquire CoreRx.

         9.     All documents related to Annora’s ANDA or Annora’s ANDA Product.

         10.   All documents related to the impact of any Generic Enalapril (including
  Authorized Generic Enalapril) on sales, revenues, or profits of Epaned®.




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                                 CERTIFICATE OF SERVICE

         I, Ronald P. Golden, hereby certify that, on December 14, 2022, a copy of the foregoing

  document was served via email to all counsel of record.




                                                            /s/ Ronald P. Golden III
                                                            Ronald P. Golden III (#6254)
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                           THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF DELAWARE

  HELIOS SOFTWARE, LLC AND PEARL
  SOFTWARE, INC.,

                         Plaintiffs,
                                                                C.A. No. C.A. No. 12-cv-081 LPS)
         v.
                                                                   JURY TRIAL DEMANDED
  SPECTORSOFT CORPORATION,

                         Defendant.




   SPECTORSOFT CORPORATION’S (1) MOTION TO STRIKE PLAINTIFF’S LATE-
   DISCLOSED DISCOVERY AND NEW CLAIMS AND LEGAL THEORIES RELATED
        THERETO, AND (2) MOTION FOR A PROTECTIVE ORDER BARRING
           PLAINTIFF’S REQUEST FOR ADDITIONAL ESI DISCOVERY

         TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

         PLEASE TAKE NOTICE THAT, pursuant to Fed. R. Civ. P. 26 and 37, Defendant

  SpectorSoft Corporation (“SpectorSoft”) respectfully moves this Court to strike Plaintiffs’ late

  disclosed discovery and any new claims and legal theories related thereto, arising from Plaintiff’s

  production on March 18, 2015, of the document identified as PearlSW0159866-67, having as its

  listed subject “Pearl Echo 5.0 Download Lead.” SpectorSoft further respectfully moves this

  Court for a Protective Order barring Plaintiffs’ request for additional ESI discovery in the nature

  of documents from Mr. Ron Chesley’s personal email account related to Plaintiffs’ late-disclosed

  discovery. The grounds for this motion are set forth in the letter filed herewith. A proposed

  form of order is attached.




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  April 2, 2015


                                          RATNERPRESTIA


  Of Counsel:                             /s/ Rex A. Donnelly
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  Eighteenth Floor
  San Francisco, CA 94111-3598
  Telephone:      (415) 421-6500
  Facsimile:      (415) 421-2922

  Attorneys for Defendant SPECTORSOFT
  CORPORATION




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                                                                                 uINOÿNHHXJMIY
                                                                                 NHHXJMIYÿHXÿZIÿMXHL[IO
                                                                                 r9i20kÿ/789ÿy77vsf9
                                                                                 ;<==ÿ?@AB=ÿCADÿ?EED=FFG
                                                                                 NHHXJMIYÿHXÿZIÿMXHL[IO
711!"#1"$%1&' ()3**+,-*2-32-,*-.0.*0                                                    +1,4
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                                                                              /0123456071ÿ9:ÿ;<=3>?5@3?2
                                                                              ABCCÿEFGHCÿIGJÿEKKJCLLM
                                                                              NOOPQRSTÿOPÿVSÿRPOWXSY
  Z=47ÿ[2<7\            ] Z5^?74ÿ_7`4
  abcdecdabd             bÿfghijklmnÿogpÿiknqmnÿlmoplmrqhqmnÿIstCKÿusvwÿxyJzÿ{C|E}KÿE~Es}Lv
                           BCvGJBGIvÿfGJGJEvsG}ÿÿhE~sLvJEvCÿfG}LC}vÿmGvsCÿvGÿitvIÿAÿosts}~ÿICCÿÿaÿJCCsv
                           }y|FCJÿabbbabdMÿÿIstCKÿFzÿiCEJtÿBGIvuEJCÿl}ÿCtsGLÿBGIvuEJCÿjjf
                           AkvvEw|C}vLÿÿbÿqwsFsvÿkÿE}KÿÿÿdÿfsHstÿfGHCJÿBwCCvMAtswMÿAq}vCJCKÿabcdcdabdM
  abcdecdabd             dÿmGvsCÿfG}LC}vÿE}KÿpCICJJEtÿIGJ|LÿJCÿBÿhE~sLvJEvCÿxyK~CÿyJsLKsvsG}ÿAtswMÿAq}vCJCK
                           abcdcdabdM
  abcdecdabd             ÿpCGJvÿvGÿvwCÿfG||sLLsG}CJÿGIÿiEvC}vLÿE}KÿnJEKC|EJLÿIGJÿiEvC}vcnJEKC|EJÿmy|FCJALM
                           BÿeaÿdÿBÿebÿdÿAtswMÿAq}vCJCKÿabcdcdabdM
  abcdecdabd             ÿ{sLtGLyJCÿBvEvC|C}vÿyJLyE}vÿvGÿpytCÿbÿIstCKÿFzÿCtsGLÿBGIvuEJCÿjjfÿAtswMÿAq}vCJCK
                           abcdcdabdM
  abcdecdabd              ÿ{sLtGLyJCÿBvEvC|C}vÿyJLyE}vÿvGÿpytCÿbÿIstCKÿFzÿiCEJtÿBGIvuEJCÿl}ÿAtswMÿAq}vCJCK
                           abcdcdabdM
  abcdcdabd              ÿBy||G}LÿlLLyCKÿusvwÿhE~sLvJEvCÿfG}LC}vÿmGvsCÿEvvEwCKÿELÿvGÿBCvGJBGIvÿfGJGJEvsG}
                           G}ÿbcdcdabdÿpCyCLvs}~ÿEJvzÿGJÿEvvGJ}CzÿLwGytKÿsÿyÿsLLyCKÿLy||G}LÿEvÿvwCÿCt
                           {CLÿpGG|ÿdaÿGJÿEttÿadebaÿE}KÿELÿvwCÿftCJÿvGÿ|EstÿvwCÿLy||G}LÿvGÿvwC|
                           AtswMÿAq}vCJCKÿabcdcdabdM
  abcacdabd             eÿmgnlfqÿGIÿfwE}~CÿGIÿkKKJCLLÿFzÿhG}vCÿnCJJCttÿBysJCÿABysJCÿhG}vCMÿAq}vCJCK
                           abcacdabdM
  adcabcdabd              ÿfELCÿkLLs~}CKÿvGÿxyK~CÿjCG}EJKÿiÿBvEJÿitCELCÿs}tyKCÿvwCÿs}svsEtLÿGIÿvwCÿxyK~CÿAjiBM
                           EIvCJÿvwCÿELCÿ}y|FCJÿG}ÿEttÿKGy|C}vLÿIstCKÿAJFMÿAq}vCJCKÿadcabcdabdM
  adcabcdabd             ÿpCvyJ}ÿGIÿBCJHsCÿqCyvCKÿFzÿiCEJtÿBGIvuEJCÿl}ÿCtsGLÿBGIvuEJCÿjjfÿBCvGJBGIv
                           fGJGJEvsG}ÿLCJHCKÿG}ÿdcbcdabdÿE}LuCJÿKyCÿdcddcdabdÿABysJCÿhG}vCMÿAq}vCJCK
                           adcabcdabdM
  adcbcdabd             ÿxGs}vÿBnlijknlgmÿngÿqnqm{ÿnlhqÿvGÿk}LuCJÿfG|tEs}vÿvGÿhEJwÿaÿdabdÿ
                           IstCKÿFzÿCtsGLÿBGIvuEJCÿjjfÿBCvGJBGIvÿfGJGJEvsG}ÿABysJCÿhG}vCMÿAq}vCJCK
                           adcbcdabdM
  adcbcdabd              ÿBgÿgp{qpq{ÿJCÿÿxGs}vÿBnlijknlgmÿngÿqnqm{ÿnlhqÿvGÿk}LuCJÿfG|tEs}vÿvG
                           hEJwÿaÿdabdÿIstCKÿFzÿBCvGJBGIvÿfGJGJEvsG}ÿCtsGLÿBGIvuEJCÿjjfÿBs~}CKÿFzÿxyK~C
                           jCG}EJKÿiÿBvEJÿG}ÿdcbcbdÿA}vtMÿAq}vCJCKÿadcbcdabdM
  acddcdabd             ÿkhqm{q{ÿfghijklmnÿÿÿW ÿE~Es}LvÿBCvGJBGIvÿfGJGJEvsG}
                           IstCKÿFzÿiCEJtÿBGIvuEJCÿl}ÿCtsGLÿBGIvuEJCÿjjfÿAkvvEw|C}vLÿÿbÿqwsFsvÿkÿÿd
                           qwsFsvÿÿÿÿqwsFsvÿfMABysJCÿhG}vCMÿAhEs}ÿ{Gy|C}vÿÿJCtECKÿG}ÿcddcdabdM
                           A}vtMÿAq}vCJCKÿacddcdabdM
  acbdcdabd            baÿBnlijknlgmÿngÿqnqm{ÿnlhqÿvGÿJCLG}KÿvGÿvwCÿk|C}KCKÿfG|tEs}vÿvGÿhEzÿbb
                           dabdÿÿIstCKÿFzÿCtsGLÿBGIvuEJCÿjjfÿiCEJtÿBGIvuEJCÿl}ÿBCvGJBGIvÿfGJGJEvsG}
                           ABysJCÿhG}vCMÿAq}vCJCKÿacbdcdabdM
  acbecdabd              ÿBgÿgp{qpq{ÿJCÿbaÿBnlijknlgmÿngÿqnqm{ÿnlhqÿvGÿJCLG}KÿvGÿvwCÿk|C}KCK
                           fG|tEs}vÿvGÿhEzÿbbÿdabdÿIstCKÿFzÿBCvGJBGIvÿfGJGJEvsG}ÿCtsGLÿBGIvuEJCÿjjf
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                          /01234516378ÿ3120:;76301ÿ<:5=7:431=ÿ6>5ÿ?@A?671/5ÿ02ÿ6>5ÿBCDE;54376301ÿF:0/5??ÿ0:
                          06>5:G3?5HIÿ6>5Jÿ;7JÿA5ÿ23854ÿ@145:ÿ?578KÿBÿ:547/654ÿL5:?301ÿ02ÿ6>5ÿ85665:?ÿ;7JÿA5
                          6>5:57265:ÿ?@A;36654ÿAJÿ6>5ÿF7:635?ÿ31ÿ6>5ÿ63;5ÿ2:7;5ÿ/78854ÿ20:ÿAJÿ6>5ÿM0@:6N?ÿF:0/54@:5
                          :5=7:431=ÿOP3831=ÿQ57854ÿM3L38ÿC0/@;516?ÿ31ÿMRESMPIOÿ47654ÿT/60A5:ÿUVWUIÿ7ÿ/0FJÿ02
                          G>3/>ÿ3?ÿ7L7387A85ÿ76ÿ>66FXEEGGGK454K@?/0@:6?K=0LE;71@78?F:0/54@:5?KYÿ<ZHÿC52514716
                          ;7Jÿ2385ÿ7ÿD5F8Jÿ[:352ÿ31ÿ85665:ÿ20:;ÿ02ÿ10ÿ;0:5ÿ6>71ÿ6G0ÿ<UHÿ?31=85\?F7/54ÿF7=5?ÿ31
                          851=6>IÿAJÿ10ÿ8765:ÿ6>71ÿZEU]EW^KYÿ<]Hÿ_0ÿ6>5ÿ5`6516ÿ6>5ÿM0@:6Iÿ7265:ÿ:5L35G31=ÿ6>5ÿ2@88
                          A:35231=Iÿ45?3:5?ÿ7:=@;516ÿ0:ÿG3?>5?ÿ60ÿ>084ÿ7ÿ>57:31=ÿ31ÿ0:45:ÿ60ÿ:5?08L5ÿ6>5ÿR06301Iÿ36
                          G388ÿ6>5:57265:ÿ3120:;ÿ6>5ÿF7:635?KÿT:45:54ÿAJÿa@4=5ÿM>:3?60F>5:ÿaKÿ[@:b5ÿ01ÿZEWcEUVW^K
                          <48bHÿ<S165:54XÿVZEWcEUVW^H
  VZEWdEUVW^          ^UeÿRT_fTgÿ20:ÿQ71/6301?ÿhijkjljmnÿpqrÿstuvkwvppxyÿzrju{|ÿqpÿw|jÿ}qkpvmjkwvutvw~ÿsrqvxvqk
                          qpÿ|vxÿ}qrwyxÿrmjrÿijurmvkÿtwjrkuwvjÿvxwjÿijxqtwvqkÿ\ÿ23854ÿAJÿQF5/60:Q026
                          M0:F0:76301Kÿ<B667/>;516?XÿÿWÿ_5`6ÿ02ÿ:0F0?54ÿT:45:H<C011588JIÿD5`Hÿ<S165:54X
                          VZEWdEUVW^H
  VZEWdEUVW^          ^UdÿQSBSCÿ5665:ÿTSgfgÿ[DfSPÿ31ÿQ@FF0:6ÿ:5ÿ^UeÿRT_fTgÿ20:ÿQ71/6301?
                          hijkjljmnÿpqrÿstuvkwvppxyÿzrju{|ÿqpÿw|jÿ}qkpvmjkwvutvw~ÿsrqvxvqkÿqpÿ|vxÿ}qrwyxÿrmjr
                          ijurmvkÿtwjrkuwvjÿvxwjÿijxqtwvqkÿ23854ÿAJÿQF5/60:Q026ÿM0:F0:76301KB1?G5:31=
                          [:352ED5?F01?5ÿ4@5ÿ4765ÿF5:ÿ0/78ÿD@85?ÿ3?ÿ]EEUVW^Kÿ<B667/>;516?XÿÿWÿS`>3A36ÿBIÿÿU
                          S`>3A36ÿ[IÿÿZÿS`>3A36ÿMIÿÿ]ÿM5:6323/765ÿ02ÿQ5:L3/5H<C011588JIÿD5`Hÿ<S165:54X
                          VZEWdEUVW^H
  VZEWdEUVW^          ^ZVÿQSBSCÿ5665:ÿBgQSDfgÿ[DfSPÿ31ÿTFF0?36301ÿ:5ÿ^UeÿRT_fTgÿ20:ÿQ71/6301?
                          hijkjljmnÿpqrÿstuvkwvppxyÿzrju{|ÿqpÿw|jÿ}qkpvmjkwvutvw~ÿsrqvxvqkÿqpÿ|vxÿ}qrwyxÿrmjr
                          ijurmvkÿtwjrkuwvjÿvxwjÿijxqtwvqkÿ23854ÿAJÿ5830?ÿQ026G7:5ÿMIÿ57:8ÿQ026G7:5
                          f1/KKD5F8Jÿ[:352ÿ4@5ÿ4765ÿF5:ÿ0/78ÿD@85?ÿ3?ÿZEZVEUVW^Kÿ<Q@3:5IÿR0165Hÿ<S165:54X
                          VZEWdEUVW^H
  VZEU]EUVW^          ^ZWÿQSBSCÿ5665:ÿDSÿ[DfSPÿ:5ÿ^UeÿRT_fTgÿ20:ÿQ71/6301?ÿhijkjljmnÿpqr
                          stuvkwvppxyÿzrju{|ÿqpÿw|jÿ}qkpvmjkwvutvw~ÿsrqvxvqkÿqpÿ|vxÿ}qrwyxÿrmjrÿijurmvk
                          twjrkuwvjÿvxwjÿijxqtwvqkÿ23854ÿAJÿQF5/60:Q026ÿM0:F0:76301Kÿ<B667/>;516?XÿÿW
                          M5:6323/765ÿ02ÿQ5:L3/5H<C011588JIÿD5`Hÿ<S165:54XÿVZEU]EUVW^H
  VZEUEUVW^          ^ZUÿRT_fTgÿ20:ÿ:0ÿ7/ÿ3/5ÿBFF57:71/5ÿ02ÿB660:15Jÿ7?7ÿRKÿR310:ÿ\ÿ23854ÿAJ
                          QF5/60:Q026ÿM0:F0:76301Kÿ<C011588JIÿD5`Hÿ<S165:54XÿVZEUEUVW^H
  VZEUEUVW^             ÿQTÿTDCSDSCIÿ:5ÿ^ZUÿRT_fTgÿ20:ÿ:0ÿ7/ÿ3/5ÿBFF57:71/5ÿ02ÿB660:15Jÿ7?7ÿRK
                          R310:ÿ23854ÿAJÿQF5/60:Q026ÿM0:F0:76301KÿQ3=154ÿAJÿa@4=5ÿ5017:4ÿKÿQ67:bÿ01ÿZEUEW^K
                          <168Hÿ<S165:54XÿVZEUEUVW^H
  VZEUEUVW^          ^ZZÿDSCBM_SCÿSDQfTgÿ02ÿ^UdÿTF5131=ÿ[:352ÿ31ÿQ@FF0:6IÿAJÿQF5/60:Q026ÿM0:F0:76301K
                          <B667/>;516?XÿÿWÿS`>3A36ÿBÿD547/654ÿ31ÿ36?ÿS163:56JIÿÿUÿS`>3A36ÿ[ÿD547/654ÿ31ÿ36?
                          S163:56JIÿÿZÿS`>3A36ÿMÿ@A83/ÿ5:?301H<C011588JIÿD5`Hÿ<S165:54XÿVZEUEUVW^H
  VZEUEUVW^          ^Z]ÿDSCBM_SCÿSDQfTgÿ02ÿ^ZVÿB1?G5:31=ÿ[:352ÿ31ÿTFF0?36301Iÿwqÿj{wqrqpwyxÿijkjljm
                          qwvqkÿpqrÿuk{wvqkxÿAJÿ5830?ÿQ026G7:5ÿMIÿ57:8ÿQ026G7:5ÿf1/KKÿ<Q@3:5IÿR0165H
                          <S165:54XÿVZEUEUVW^H
  VZEZVEUVW^             ÿ:0ÿ7/ÿ3/5ÿB660:15Jÿ7?7ÿRKÿR310:ÿ20:ÿQF5/60:Q026ÿM0:F0:76301ÿ74454ÿ20:ÿ585/6:013/
                          1063/31=Kÿ@:?@716ÿ60ÿ0/78ÿD@85ÿeZK^ÿ<4HKIÿC587G7:5ÿ/0@1?58ÿ?>788ÿA5ÿ6>5ÿ:5=3?65:54ÿ@?5:?
                          02ÿMRESMPÿ714ÿ?>788ÿA5ÿ:5@3:54ÿ60ÿ2385ÿ788ÿF7F5:?Kÿ<;7?IÿHÿ<S165:54XÿVZEZVEUVW^H
  VZEZWEUVW^          ^Z^ÿDSCBM_SCÿSDQfTgÿ02ÿ^ZWÿD5F8Jÿ[:352IÿAJÿQF5/60:Q026ÿM0:F0:76301Kÿ<C011588JI
                          D5`Hÿ<S165:54XÿVZEZWEUVW^H
  V]EVUEUVW^          ^ZÿRT_fTgÿ60ÿQ6:3b5ÿstuvkwvppyxÿuwjvx{tqxjmÿvx{qjr~ÿukmÿjlÿ}tuvxÿukmÿjut
                          |jqrvjxÿijtuwjmÿ|jrjwqÿukmÿqwvqkÿpqrÿuÿsrqwj{wvjÿrmjrÿzurrvkÿstuvkwvppyxÿijjxw
711!"#1"$%1&' ()3**+,-*2-32-,*-.0.*0                                                    +31,4
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                          /01ÿ3445650789ÿ:;<ÿ=5>?0@A1BÿDÿEFGHIÿJKÿLMHNOPQLPEOÿRPQMPQSOFPTUÿVWOOSNXYHTOZ[ÿ\ÿ]ÿ^H_O
                          PEÿ̀QPMPZHIÿaQIHQbVcPTTHGGKdÿeH_bÿVfTOHQHI[ÿghigjijg]kb
  ghiglijg]k             ÿRaeefR^mnoÿfn^ep[ÿFOHYÿEFGHIÿSZÿcUmUÿkqrÿIHGHOHIÿMHQÿNPsTZHGtZÿQHusHZOÿPTÿhilijg]kU
                          RPsTZHGÿOPÿQHDEFGHÿNPQQHNOHIÿIPNsYHTOUÿVQMvbÿVfTOHQHI[ÿghiglijg]kb
  ghiglijg]k          kqrÿwLfWxfcyÿa`fnmnoÿzemf{ÿFTÿLsMMPQOÿQHÿkqlÿ|a^manÿOPÿLOQF}Hÿ~985765//>ÿ86A
                          =5>?90>A4ÿ=5>?0@A1Bÿ874ÿAÿ985>ÿ874ÿA89ÿA015A>ÿA986A4ÿA1A60ÿ874ÿ06507
                          /01ÿ8ÿ~106A?65@Aÿ14A1ÿ81157ÿ~985765//>ÿAA>6ÿ/01ÿ3445650789ÿ:;<ÿ=5>?0@A1BÿEFGHIÿJK
                          LMHNOPQLPEOÿRPQMPQSOFPTUWTZHQFTvÿzQFHEieHZMPTZHÿIsHÿISOHÿMHQÿxPNSGÿesGHZÿFZ
                          hijqijg]kUÿVWOOSNXYHTOZ[ÿ\ÿ]ÿf_XFJFOÿWdÿ\ÿjÿf_XFJFOÿzdÿ\ÿqÿf_XFJFOÿRdÿ\ÿhÿf_XFJFOÿcdÿ\ÿk
                          RHQOFEFNSOHÿPEÿLHQFNHbVcPTTHGGKdÿeH_bÿVfTOHQHI[ÿghiglijg]kb
  ghigijg]k          kqÿwLfWxfcyÿxHOOHQÿOPÿ^XHÿPTPQSJGHÿxHPTSQIÿ̀UÿLOSQ}ÿEQPYÿ|PTOHÿ^UÿLusFQHÿQHvSQIFTv
                          `GSFTOFEEZtÿWTZHQFTvÿxHOOHQÿFTÿaMMPZFOFPTÿOPÿ]bÿLMHNOPQLPEOtZÿ|POFPTÿOPÿLOQF}Hÿ̀GSFTOFEEZt
                          xSOHÿcFZNGPZHIÿcFZNPHQKÿSTIÿjbÿLMHNOPQLPEOtZÿ|POFPTÿEPQÿSÿ̀QPOHNOFHÿaQIHQÿDÿQHÿkqr
                          aMHTFTvÿzQFHEÿFTÿLsMMPQOddÿkqlÿ|a^manÿOPÿLOQF}Hÿ~985765//>ÿ86A=5>?90>A4ÿ=5>?0@A1B
                          874ÿAÿ985>ÿ874ÿA89ÿA015A>ÿA986A4ÿA1A60ÿ874ÿ06507ÿ/01ÿ8ÿ~106A?65@Aÿ14A1
                          81157ÿ~985765//>ÿAA>6ÿ/01ÿ3445650789ÿ:;<ÿ=5>?0@A1BUÿVWOOSNXYHTOZ[ÿ\ÿ]ÿf_XFJFOÿWÿD
                          cbVLusFQHdÿ|PTOHbÿVfTOHQHI[ÿghigijg]kb
  ghi]gijg]k          kqÿefcWR^fcÿfeLmanÿPEÿkqrÿaMHTFTvÿzQFHEÿFTÿLsMMPQOddÿJKÿLMHNOPQLPEOÿRPQMPQSOFPTU
                          VWOOSNXYHTOZ[ÿ\ÿ]ÿf_XFJFOÿWÿeHISNOHIdÿ\ÿjÿf_XFJFOÿzÿeHISNOHIdÿ\ÿqÿf_XFJFOÿRÿeHISNOHIdÿ\
                          hÿf_XFJFOÿcÿ̀sJGFNÿHQZFPTbVcPTTHGGKdÿeH_bÿVfTOHQHI[ÿghi]gijg]kb
  ghi]qijg]k          khgÿxHOOHQÿef`xpÿOPÿeHZMPTZHÿOPÿ|POFPTÿQHÿkqlÿ|a^manÿOPÿLOQF}Hÿ~985765//>ÿ86A
                          =5>?90>A4ÿ=5>?0@A1Bÿ874ÿAÿ985>ÿ874ÿA89ÿA015A>ÿA986A4ÿA1A60ÿ874ÿ06507
                          /01ÿ8ÿ~106A?65@Aÿ14A1ÿ81157ÿ~985765//>ÿAA>6ÿ/01ÿ3445650789ÿ:;<ÿ=5>?0@A1BÿEFGHIÿJK
                          LMHNOPQLPEOÿRPQMPQSOFPTUÿVcPTTHGGKdÿeH_bÿVfTOHQHI[ÿghi]qijg]kb
  ghi]qijg]k          kh]ÿxHOOHQÿOPÿ^XHÿPTPQSJGHÿxHPTSQIÿ̀UÿLOSQ}ÿEQPYÿeH_ÿWUÿcPTTHGGKÿQHvSQIFTvÿPFTOÿeHusHZO
                          EPQÿ^HGHNPTEHQHTNHÿDÿQHÿkqlÿ|a^manÿOPÿLOQF}Hÿ~985765//>ÿ86A=5>?90>A4ÿ=5>?0@A1Bÿ874
                          Aÿ985>ÿ874ÿA89ÿA015A>ÿA986A4ÿA1A60ÿ874ÿ06507ÿ/01ÿ8ÿ~106A?65@Aÿ14A1
                          81157ÿ~985765//>ÿAA>6ÿ/01ÿ3445650789ÿ:;<ÿ=5>?0@A1BUÿVcPTTHGGKdÿeH_bÿVfTOHQHI[
                          ghi]qijg]kb
  ghi]lijg]k          khjÿefcWR^fcÿfeLmanÿPEÿkqÿxHOOHQddÿA66A1ÿ15A/ÿ57ÿ0>56507ÿ60ÿ;A?601;0/6>ÿ
                          06507ÿ60ÿ;615Aÿ874ÿÿ06507ÿ/01ÿ~106A?65@Aÿ14A1ÿJKÿHGFPZÿLPEOSQHÿxxRdÿ̀HSQG
                          LPEOSQHÿmTNUUÿVWOOSNXYHTOZ[ÿ\ÿ]ÿf_XFJFOÿWÿDÿcbVLusFQHdÿ|PTOHbÿVfTOHQHI[ÿghi]lijg]kb
  ghijjijg]k          khqÿxHOOHQÿOPÿ^XHÿPTPQSJGHÿxHPTSQIÿ̀UÿLOSQ}ÿEQPYÿeH_ÿWUÿcPTTHGGKÿQHvSQIFTvÿLNXHIsGFTvÿPE
                          mTHusFOSJGHÿRPTIsNOÿzHTNXÿ^QFSGUÿVcPTTHGGKdÿeH_bÿVfTOHQHI[ÿghijjijg]kb
  ghijhijg]k          khhÿxHOOHQÿOPÿ^XHÿPTPQSJGHÿxHPTSQIÿ̀UÿLOSQ}ÿEQPYÿeH_ÿWUÿcPTTHGGKÿQHvSQIFTvÿ|POFPTÿEPQ
                          xHSHÿOPÿ{FGHÿcSsJHQOÿ|POFPTÿDÿQHÿhqÿ|a^manÿEPQÿxHSHÿOPÿ{FGHÿ8ÿ=8A16ÿ06507ÿ60
                          :?94Aÿ6Aÿ;9A A7689ÿ57507>ÿ874ÿ~100>A4ÿ:A16ÿA>6507Bÿ0/ÿ;?066ÿA57>6ÿ07
                          =8 8A>UÿVcPTTHGGKdÿeH_bÿVfTOHQHI[ÿghijhijg]kb
  ghijhijg]k          khkÿaeWxÿaecfe[ÿSFTvÿQHFHHIÿcHEHTISTOtZÿYPOFPTÿOPÿZOQF}HÿSTIÿSZZPNFSOHIÿJQFHEFTv
                          STIÿSOOSNXHIÿYSOHQFSGZÿVZHHÿcUmUÿkqldÿkqrdÿkqdÿkhgbdÿm^ÿmLÿfefzpÿaecfefcÿOXSO
                          cHEHTISTOtZÿYPOFPTÿFZÿoeWn^fcUÿ^XHÿxHSIÿfYSFGÿVZHHÿcUmUÿkqrÿf_UÿWbÿFZÿL^emR fn
                          STIÿcHEHTISTOÿFZÿoeWn^fcÿSÿMQPOHNOFHÿPQIHQÿSTIÿFZÿTPOÿQHusFQHIÿOPÿZHSQNXÿ|QU
                          RXHZGHKtZÿMHQZPTSGÿHYSFGÿSNNPsTOUÿWZÿMHQZsSZFHGKÿSQvsHIÿFTÿcHEHTISTOtZÿGHOOHQZdÿ̀GSFTOFEEZ
                          MQPIsNHIÿOXHÿxHSIÿfYSFGÿYPQHÿOXSTÿ]ÿYPTOXZÿSEOHQÿOXHÿNGPZHÿPEÿH_MHQOÿIFZNPHQKÿSTI
                          XSHÿMQPFIHIÿTPÿH_MGSTSOFPTÿEPQÿOXHFQÿGSOHÿMQPIsNOFPTÿXHTÿSMMQP_FYSOHGKÿhggÿZFYFGSQ
                          HYSFGZÿHQHÿMQPIsNHIÿFTÿSÿOFYHGKÿYSTTHQUÿ̀GSFTOFEEZÿXSHÿTPOÿH_MGSFTHIÿXPÿOXHÿxHSI
                          fYSFGÿFZÿQHGHSTOÿOPÿSTKÿFZZsHÿQHYSFTFTvÿFTÿOXHÿNSZHUÿfHTÿSZZsYFTvÿOXHÿIPNsYHTOÿXSZ
                          ZPYHÿMQPJSOFHÿSGsHÿFOÿFZÿZsJZOSTOFSGGKÿPsOHFvXHIÿJKÿOXHÿQFZ}ZÿPEÿsTESFQÿMQH¡sIFNHÿOP
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                          /01023425ÿ423ÿ78219:;82ÿ81ÿ5<0ÿ=9>?ÿ@A<;7<ÿ789B3ÿC0ÿD;:B03ÿ;258ÿC0B;0E;2Fÿ5<45
                          4BB0F45;82:ÿ81ÿ78G?;2Fÿ8>ÿA;BB19Bÿ;21>;2F0D025ÿ4>0ÿG0>5;2025ÿ58ÿ5<0ÿ;::90:ÿ47594BB?
                          >0D4;2;2Fÿ;2ÿ5<0ÿ74:0HIÿJ<0ÿK89>5ÿ438G5:ÿ/01023425L:ÿ424B?:;:ÿ81ÿ5<0ÿM022?G47Nÿ14758>:
                          @:00ÿ/IOIÿPQRÿ45ÿQHSÿ423ÿ0DG<4:;T0:ÿ5<45ÿ5<0ÿU920ÿVPÿ5>;4Bÿ3450ÿA89B3ÿC0ÿG95ÿ;2ÿ=08G4>3?
                          A0>0ÿ;5ÿ58ÿG0>D;5ÿMB4;25;11:ÿ58ÿ9:0ÿ5<0ÿ925;D0B?ÿG>839703ÿW043ÿXD4;Bÿ;2ÿ5<0ÿD4220>ÿ5<0?
                          G>8G8:0ÿ4:Sÿ;2ÿ14;>20::Sÿ/01023425ÿA89B3ÿ2003ÿ58ÿC0ÿG0>D;5503ÿ58ÿ>08G02ÿ3;:78E0>?I
                          YZ/XZX/ÿC?ÿU93F0ÿW0824>3ÿMIÿ[54>Nÿ82ÿ\]^\]VPIÿ@25BHÿ@X250>03_ÿ̀\]^\]^`VPH
  `\]^a]^`VP          P\bÿYZcWÿYZ/XZ_ÿd4E;2Fÿ>0E;0A03ÿ5<0ÿC>;01;2Fÿ@/IOIÿ\e\Sÿ\eRSÿ\eeHÿ>0F4>3;2F
                          [G0758>[815L:ÿf85;82ÿ18>ÿW04E0ÿ58ÿg;B0ÿ4ÿ/49C0>5ÿf85;82ÿ58ÿXh7B930ÿ5<0ÿ[9GGB0D0254B
                          YG;2;82:ÿ423ÿM>8G8:03ÿXhG0>5ÿJ0:5;D82?ÿ81ÿ[7855ÿi0;2F9:5ÿ82ÿ/4D4F0:ÿ@/IOIÿ\eQHSÿOJ
                          O[ÿdXZXjkÿYZ/XZX/ÿ5<45ÿ[G0758>[815L:ÿD85;82ÿ18>ÿB04E0ÿ@/IOIÿ\eQHÿ;:ÿlZcmJX/I
                          J<0ÿK89>5ÿ1;23:ÿ5<45ÿF883ÿ749:0ÿ0h;:5:ÿ58ÿD83;1?ÿ5<0ÿ:7<039B;2Fÿ8>30>ÿ9230>ÿg03IÿZIÿK;EI
                          MIÿVb@CH@\HÿC0749:0ÿ[G0758>[815ÿA4:ÿ3;B;F025ÿ;2ÿ1;B;2Fÿ;5:ÿD85;82ÿ=9:5ÿ820ÿD825<ÿ4150>
                          >070;E;2Fÿf>Iÿi0;2F9:5L:ÿ[9GGB0D0254BÿXhG0>5ÿZ0G8>5ÿ423ÿD8>0ÿ5<42ÿ:;hÿD825<:ÿC018>0
                          5>;4BSÿ423ÿC0749:0Sÿ9230>ÿ5<0ÿ7;>79D:54270:Sÿ5<0ÿK89>5ÿ4F>00:ÿA;5<ÿ[G0758>[815ÿ5<45ÿ;5ÿn3;3
                          285ÿ;25023ÿ58ÿF;E0ÿMB4;25;11:ÿ74>50ÿCB427<0ÿ58ÿ:9CD;5ÿ4ÿ[9GGB0D0254BÿZ0G8>5ÿA;5<895ÿ4B:8
                          G>8E;3;2Fÿ[G0758>[815ÿ:8D0ÿ8GG8>592;5?ÿ58ÿ7<4BB02F0ÿ;5:ÿ43D;::;C;B;5?Inÿ@/IOIÿ\eeÿ45ÿVQH
                          [G0758>[815L:ÿD85;82ÿ:<4BBÿC0ÿB;D;503ÿ58ÿf>Iÿi0;2F9:5L:ÿ[9GGB0D0254BÿXhG0>5ÿZ0G8>5Sÿ423
                          C>;01;2Fÿ82ÿ5<0ÿD85;82ÿ:<4BBÿC0ÿ78DGB0503ÿ82ÿ42ÿ0hG03;503ÿ:7<039B0Sÿ4:ÿ:9FF0:503ÿC?
                          [G0758>[815ÿ;2ÿ;5:ÿ>07025ÿB0550>ÿ@/IOIÿP\\H_ÿ[G0758>[815L:ÿ8G02;2FÿC>;01ÿ:<4BBÿC0ÿ390ÿ82
                          \]Q`]VPSÿMB4;25;11:Lÿ42:A0>;2FÿC>;01ÿ:<4BBÿC0ÿ390ÿ82ÿP]V^]VPSÿ423ÿ[G0758>[815L:ÿ>0GB?ÿC>;01
                          :<4BBÿC0ÿ390ÿ82ÿP]Va]VPIÿJ<0ÿK89>5ÿ;25023:ÿ58ÿ>0:8BE0ÿ5<0ÿ/49C0>5ÿD85;82ÿ45ÿ8>ÿC018>0ÿ5<0
                          G>05>;4Bÿ78210>0270IÿYZ/XZX/ÿC?ÿU93F0ÿW0824>3ÿMIÿ[54>Nÿ82ÿ\]^a]VPIÿ@25BHÿ@X250>03_
                          `\]^a]^`VPH
  `\]^a]^`VP          P\RÿYZcWÿYZ/XZ_ÿd4E;2Fÿ>0E;0A03ÿ[G0758>[815L:ÿB0550>ÿ@KIcIÿV^oaVoWM[ÿ/IOIÿP\QH
                          >0F4>3;2Fÿ5<0ÿ:7<039B;2Fÿ81ÿ5<0ÿ;20p9;54CB0ÿ7823975ÿC027<ÿ5>;4B@:Hÿ423ÿ5<0ÿG8::;CB0
                          782:8B;345;82ÿ81ÿ5<;:ÿ423ÿ70>54;2ÿ;2E4B;3;5?ÿ;::90:ÿA;5<ÿ5<0ÿ>0B4503ÿcA4>020::ÿ74:0SÿOJÿO[
                          dXZXjkÿYZ/XZX/ÿ5<45ÿ5<0ÿG4>5;0:ÿ;2ÿC85<ÿKIcIÿV^oaVoWM[ÿ423ÿKIcIÿVVoV^PeoWM[
                          [dcWWÿ:9CD;5ÿ42?ÿD85;82:ÿ18>ÿ782:8B;345;82ÿ@A<05<0>ÿ=8;25B?oG>8G8:03ÿ8>ÿ285Hÿ4:ÿA0BB
                          4:ÿ4ÿ=8;25ÿ:5459:ÿ>0G8>5ÿ28ÿB450>ÿ5<42ÿP]V]VPSÿA;5<ÿ:97<ÿ:5459:ÿ>0G8>5ÿ433>0::;2F_ÿ@VHÿ5<0
                          G4>5;0:LÿE;0A:ÿ82ÿ5<0ÿ:7<039B;2Fÿ81ÿ5<0ÿ;20p9;54CB0ÿ7823975ÿC027<ÿ5>;4B@:HSÿ423ÿ@^Hÿ5<0;>
                          G8:;5;82ÿ82ÿ42?ÿD85;82:ÿ18>ÿ782:8B;345;82IÿYZ/XZX/ÿC?ÿU93F0ÿW0824>3ÿMIÿ[54>Nÿ82
                          \]^a]VPIÿc::87;4503ÿK4:0:_ÿV_VVo7Eo`V^PeoWM[SÿV_V^o7Eo```aVoWM[ÿ@25BHÿ@X250>03_
                          `\]^a]^`VPH
  `\]^a]^`VP             ÿM>8ÿd47ÿq;70ÿc558>20?ÿX>;7NÿKIÿd8A4>3ÿ18>ÿ[G0758>[815ÿK8>G8>45;82ÿ43303ÿ18>ÿ0B075>82;7
                          285;7;2FIÿM9>:9425ÿ58ÿW874BÿZ9B0ÿaQIPÿ@3HISÿ/0B4A4>0ÿ7892:0Bÿ:<4BBÿC0ÿ5<0ÿ>0F;:50>03ÿ9:0>:
                          81ÿKf]XKgÿ423ÿ:<4BBÿC0ÿ>0p9;>03ÿ58ÿ1;B0ÿ4BBÿG4G0>:Iÿc::87;4503ÿK4:0:_ÿV_VPo7Eo```^`o
                          WM[oKUjSÿV_V^o7Eo```aVoWM[@3DGSÿHÿ@X250>03_ÿ̀\]^a]^`VPH
  `\]Q`]^`VP          P\aÿfYJOYmÿ58ÿ[5>;N0ÿrÿtuvwxyzÿ{x||wz}z~wÿz|ÿ|~~ÿ~yÿ|zyÿtu|z
                          z~ÿÿ{vÿz~xÿ~ÿ}zÿoÿ1;B03ÿC?ÿ[G0758>[815ÿK8>G8>45;82Iÿ@c5547<D025:_
                          ÿVÿJ0h5ÿ81ÿM>8G8:03ÿY>30>H@/8220BB?SÿZ0hHÿ@X250>03_ÿ̀\]Q`]^`VPH
  `\]Q`]^`VP          P\eÿ[XcWX/ÿfXfYZcm/fÿ;2ÿ[9GG8>5ÿ>0ÿP\aÿfYJOYmÿ58ÿ[5>;N0ÿrÿtuvwxyz
                          {x||wz}z~wÿz|ÿ|~~ÿ~yÿ|zyÿtu|zÿz~ÿÿ{vÿz~xÿ~
                          }zÿ1;B03ÿC?ÿ[G0758>[815ÿK8>G8>45;82Ic2:A0>;2Fÿj>;01]Z0:G82:0ÿ390ÿ3450ÿG0>ÿW874B
                          Z9B0:ÿ;:ÿP]Va]^`VPIÿ@c5547<D025:_ÿÿVÿ/07B4>45;82ÿ81ÿU4D0:ÿMIÿf4>5;2Sÿÿ^ÿK0>5;1;7450ÿ81
                          [0>E;70H@/8220BB?SÿZ0hHÿ@X250>03_ÿ̀\]Q`]^`VPH
  `P]`V]^`VP          PP`ÿU8;25ÿfYJOYmÿ58ÿK82:8B;3450ÿK4:0:ÿ~||zyÿ~ÿ{|xwzyÿ~ÿ
                          ~wyzÿÿz~ÿ~zxwzÿ~yxvÿx~zvw}ÿÿz~v¡ÿwÿ~yÿ
                          tuz~~ÿÿ}zÿÿ¢wzÿ~ÿÿ~wyzÿ~£wyÿw}ÿoÿ1;B03ÿC?ÿd0B;8:
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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


  FG SRC LLC,                                      §
                                                   §
         Plaintiff,                                §
                                                   §
         v.                                        §         Civil Action No. 20-00601-WCB
                                                   §
  XILINX, INC.                                     §              FILED UNDER SEAL
                                                   §
         Defendant.                                §
                                                   §
                                                   §


                           MEMORANDUM OPINION AND ORDER

         In this case, plaintiff FG SRC LLC (“SRC”) has accused defendant Xilinx, Inc., (“Xilinx”)

  of infringing U.S. Patent No. 9,153,311 (“the ’311 patent”).        Claim construction has been

  completed, and fact discovery is currently scheduled to close on May 2, 2022. The parties have

  filed two motions relating to the discovery proceedings in this case. SRC has moved to extend the

  deadline for fact discovery and all subsequent deadlines by five months. Dkt. No. 116. Xilinx has

  moved for a protective order to limit SRC’s use of third-party subpoenas. Dkt. No. 133. This

  order addresses both motions. SRC’s motion to extend the deadline for fact discovery (Dkt. No.

  116) is GRANTED, and Xilinx’s motion for a protective order to limit SRC’s use of third-party

  subpoenas (Dkt. No. 133) is GRANTED IN PART.

     1. Extension of Deadlines

         SRC moves to extend the deadline for fact discovery by five months because SRC asserts

  that it “cannot reasonably conduct [its] third-party discovery before the current deadline of May 2,

  2022.” Dkt. No. 117 at 1. SRC argues that Xilinx’s delay in producing information regarding its

  customers, many of which are located outside of the United States, has prevented it from seeking


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  discovery that is necessary to its case. Specifically, SRC seeks information regarding which, if

  any, of Xilinx’s customers use Xilinx’s products in an infringing manner.

         Earlier in this case, SRC moved to compel Xilinx to produce certain information regarding

  its customers, including a spreadsheet listing customers who had purchased certain products from

  Xilinx that can be adapted to infringe the asserted patent. See generally Dkt. No. 107. After a

  discovery teleconference, Xilinx provided such a spreadsheet to SRC, but did not provide

  sufficient information for SRC to understand the contents of the spreadsheet. Dkt. No. 109 at 1. I

  then ordered Xilinx to provide SRC information sufficient to convey “full knowledge of the

  meaning of terms and abbreviations used in the spreadsheet.” Dkt. No. 111 at 1. The parties then

  agreed to resolve the dispute, and I entered an order memorializing the parties’ agreement on

  February 25, 2022. Dkt. No. 113.

         SRC asserts that Xilinx’s delay in providing customer information has prevented SRC from

  conducting discovery with respect to those customers, in particular Xilinx’s non-U.S. customers.

  Xilinx argues that the dispute regarding customer information “was crystallized in July 2021,” and

  therefore any delay between July 2021 and February 2022 is attributable to SRC. Dkt. No. 126 at

  1 (emphasis omitted).

         I find SRC’s version of events to be more persuasive. Although it is true that SRC might

  have brought this issue to the court in July 2021, SRC instead sought to conduct a Rule 30(b)(6)

  deposition of Xilinx regarding its “practices and policies related to record keeping” so as to

  determine how to obtain information regarding possible infringing activities by Xilinx’s

  customers. Dkt. No. 118, Exh. M, at 7–8. SRC served Xilinx with notice of that deposition on

  September 1, 2021. Xilinx, however, did not make that witness available until November 30,

  2021, and the deposition was ultimately taken on December 14, 2021. Dkt. No. 118, Exhs. P, R.



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  In that deposition, SRC learned that the “information sought by SRC could be readily obtained

  from Xilinx’s databases in a couple of hours.” Dkt. No. 117 at 11 (emphasis omitted). I found

  that fact to be persuasive when I ordered Xilinx to produce the spreadsheet of customer information

  to SRC. If SRC had approached the court prior to obtaining that information, it may not have been

  able to make as strong a case for obtaining Xilinx’s customer list. I therefore find that SRC was

  sufficiently diligent in proceeding as it did in seeking that information.

         Furthermore, I find that in certain respects Xilinx’s conduct in discovery has been dilatory.

  For instance, Xilinx’s failure to make a witness available for the 30(b)(6) deposition that SRC

  sought until almost three months after Xilinx was served with notice of that deposition contributed

  significantly to the delay in resolving the customer information issue between July 2021 and

  February 2022. And Xilinx’s refusal to provide SRC with sufficient information to interpret its

  customer spreadsheet, which I ordered Xilinx to produce, impeded SRC’s efforts to obtain the

  accessible information it sought regarding Xilinx’s customer list. While Xilinx points out that it

  produced some documents earlier in the discovery process that identified many of the Xilinx

  customers that had purchased the accused products, Xilinx failed to produce a complete customer

  list, in a comprehensible form, until February 2022. For that reason, Xilinx’s argument that SRC

  should have been more aggressive in pursuing the information that Xilinx was withholding is not

  persuasive.

         With that said, I was disappointed to learn, from SRC’s reply memorandum, that SRC has

  not even begun seeking discovery from foreign sources. SRC’s excuse for its inactivity in that

  regard is that it did not begin foreign discovery because it did not believe it could complete all of

  the necessary foreign discovery by the current May 2, 2022, date for the close of fact discovery.

  Dkt. No. 132 at 4. That is, of course, no justification for SRC not at least beginning the foreign



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  discovery process. Notwithstanding SRC’s failure to initiate foreign discovery, however, the

  course of the discovery in this case to date––and in particular the prospect that at least some foreign

  discovery will be required––justifies an extension of the period for fact discovery.

         Accordingly, I will grant the five-month extension that SRC requests. That extension will

  require that the trial date currently set for March 20, 2023, be canceled. A revised scheduling order

  will be entered shortly. Any further extensions of the fact discovery deadline will be entertained

  only upon a robust showing of diligence by the party seeking the extension.

     2. Protective Order

         Xilinx moves for a protective order because, in its view, SRC is using subpoenas to harass

  its customers without a legitimate basis for doing so. More specifically, Xilinx asserts that SRC

  is conducting a “fishing expedition” in which it is looking for entities that have purchased Xilinx’s

  products and may be using them in an infringing manner, even though SRC lacks a “plausible

  basis for believing that any of th[o]se customers use the functionality of the Asserted Patent.” Dkt.

  No. 134 at 1–2. As a remedy, Xilinx requests that I order SRC to withdraw most of the subpoenas

  it has served on Xilinx’s customers in this case.

         To date, SRC has served 88 subpoenas on Xilinx’s domestic customers. See Dkt. Nos.

  115, 119, 120, 129, 130, 137. And although SRC has indicated that it does not intend to serve

  more subpoenas on Xilinx’s domestic customers, it does intend to serve subpoenas on several of

  Xilinx’s foreign customers. Dkt. No. 142, Exh. E, at ¶ 8. For the entities that are targeted by most

  of those subpoenas, SRC has not suggested that it has any reason to believe that Xilinx has induced

  them to use methods that would infringe the asserted patent or that the target entities actually

  practice the infringing methods. It appears that the sole predicate for the issuance of those




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  subpoenas is the fact that those entities are customers of Xilinx, and that they have purchased

  products from Xilinx that could be used in an infringing manner.

         Xilinx argues that SRC’s 88 subpoenas are intended primarily to “harass Xilinx’s

  customers and disrupt Xilinx’s business.” Dkt. No. 134 at 1. The subpoenas, according to Xilinx,

  are designed not with the expectation that they will produce evidence of infringement by Xilinx,

  but principally to exert pressure on Xilinx to settle this case. Id. at 2. Xilinx reports that it has

  already received complaints from customers regarding the subpoenas and questions about why

  those customers have been targeted “despite never having heard of the accused functionality,” and

  that the subpoenas will impose considerable legal expenses on Xilinx’s subpoenaed customers.

  Dkt. No. 144 at 6. SRC responds that the subpoenas are part of a legitimate effort to identify

  customers of Xilinx that Xilinx has induced to infringe the asserted patent and that SRC has

  received responses to several of its subpoenas directly from the subpoenaed parties without the

  involvement of outside counsel. In its reply brief, however, Xilinx reports that at least 15 law

  firms have already been involved in responding to the various subpoenas directed to Xilinx’s

  customers. Id. Collectively, Xilinx asserts, the burden on the subpoenaed third parties, and

  indirectly on Xilinx, is likely to be considerable.

         Under Federal Rule of Civil Procedure 26(c), “[t]he court may, for good cause, issue an

  order to protect a party or person from annoyance, embarrassment, oppression, or undue burden

  or expense.” In this district, courts have identified four factors that govern the good-cause inquiry

  for this purpose: “relevance, need, confidentiality, and harm.”        AbbVie Inc. v. Boehringer

  Ingelheim Int’l GmbH, No. CV 17-1065, 2018 WL 2337133, at *1 (D. Del. May 23, 2018) (quoting

  Mannington Mills, Inc. v. Armstrong World Indus., Inc., 206 F.R.D. 525, 529 (D. Del. 2002)).




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                 A. Relevance

         The subpoenas, which are all quite similar, are broad in scope. And for many of the

  subpoenas, SRC has not provided a sufficient basis for believing that they are likely to produce

  evidence relevant to the current action. SRC has identified no evidence that Xilinx is inducing

  infringement by its customers generally, and for a large majority of the subpoenaed targets, SRC

  has identified no evidence that those customers practice the claimed invention. 1

         There are, however, a few customers for which broad subpoenas may be justified. For

  instance, Xilinx has identified a set of customers that it believes may use the accused functionality:

  Ericsson, Amazon, IBM, and Microsoft. Dkt. No. 134 at 4; Dkt. No. 107, Exh. 5, at 4. And SRC

  has identified two additional foreign customers for which it has articulated a basis to believe that

  they use the accused functionality: Nokia Oyj 2 and Napatech A/S. Dkt. No. 132 at 3–4. As to

  those customers, I find that SRC’s discovery efforts are justified, as they are directed to

  information that may be relevant to this litigation. In addition, Xilinx acknowledges that SRC’s

  subpoenas to Google and Qualcomm are supported by a sufficient showing to justify SRC’s

  discovery efforts, and Xilinx therefore does not seek withdrawal of the subpoenas to those two

  companies. Dkt. No. 144 at 1. With respect to the remaining subpoenaed Xilinx customers,




         1
             SRC suggests that because certain customers have spent large sums of money on Xilinx’s
  products, those customers are likely to infringe. See, e.g., Dkt. No. 132 at 3 (suggesting that
  because Nokia Oyj has “over $[REDACTED] in purchases of Accused Products,” it is likely “that
  at least some portion of those Accused Products are used in an infringing manner.”). But without
  more, the fact that a customer has purchased more than a certain dollar amount of Xilinx’s products
  does not establish, or even suggest, that the customer is likely to practice the asserted claims.
           2
              To be clear, the subpoena to Nokia Oyj is justified because “Xilinx has produced
  documents evidencing that Nokia Oyj and/or its subsidiaries use [the accused] functionality.” Dkt.
  No. 132 at 3. The sum of money that Nokia Oyj has spent on Xilinx’s products is not relevant to
  that determination. See supra note 1.
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  however, SRC has not pointed to any basis for believing that a broad subpoena to any of those

  customers is likely to produce evidence relevant to SRC’s claims against Xilinx.

         I recognize that without the use of third-party subpoenas, SRC may not be able to determine

  which (if any) of Xilinx’s customers use Xilinx’s products to infringe the asserted claims. In light

  of the liberal scope generally accorded to discovery, SRC is entitled to employ means to develop

  that information if it can be done without imposing undue burdens on third parties. The problem

  is that SRC’s current subpoenas seek large amounts of information, much of which does not

  directly address the question whether the targeted customers infringe. For example, SRC’s

  subpoenas generally request the following categories of documents:

              “1. Documents sufficient to show, on a quarterly or monthly basis, the total
      volume of Accused Products purchased by You during the period from October 2015 to
      present.
              2. Documents sufficient to show, on a quarterly or monthly basis, the total
      amounts paid by You to purchase Accused Products during the period from October 2015
      to present.
              3. Documents sufficient to show each of Your products and/or services that
      currently incorporates or implements an Accused Product or that previously did so at any
      time during the period from October 2015 to present.
              4. Documents sufficient to show each of Your products and/or services that
      currently utilizes the Self-Refresh Functionality of any Accused Product or that
      previously did so at any time during the period from October 2015 to present.
              5. For each of Your products and/or services that utilizes the Self-Refresh
      Functionality of any Accused Product or that previously did so at any time during the
      period from October 2015 to present, Documents sufficient to identify where such
      product or service is or was made, used, offered for sale, and/or sold.
              6. For each of Your products and/or services that utilizes the Self-Refresh
      Functionality of any Accused Product or that previously did so at any time during the
      period from October 2015 to present, Documents sufficient to identify any code, software,
      development tools, platforms, or other resources provided by or obtained from Xilinx and
      utilized, incorporated, or implemented by or in Your product or service, including without
      limitation Documents sufficient to identify any Xilinx IP cores used for such product or
      service and what Vivado Design Suite, if any, was used in the development of the product
      or service.
              7. Documents sufficient to show all assistance and/or support provided by Xilinx
      to You related to the utilization of the Self-Refresh Functionality of any Accused Product
      by or for any of Your products and/or services. For clarity, such Documents include, but



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      are not limited to, (1) project descriptions, (2) support tickets, and (3) training and
      instruction.
              8. All Documents exchanged between You and Xilinx related to any utilization
      of the Self-Refresh Functionality of any Accused Product by or for any of Your products
      and/or services.
              9. All Documents exchanged between You and any third party, including but not
      limited to Xilinx, related to FG SRC, the Lawsuit, and/or the ’311 patent.”

  See, e.g., Dkt. No. 142, Exh. A at 4 (SRC’s subpoena to Google). Of those requests, the first three

  relate only to the Accused Products, i.e., Xilinx’s products that, according to SRC, could be

  adapted to be used in an infringing manner. Those requests do not address the question whether

  the targeted customer actually modifies the Accused Products in a manner that could infringe the

  asserted patent. Requests 5 through 9 could be relevant to the current action, but only if there were

  a reasonable basis to believe that the targeted customer engages or has engaged in conduct that

  could infringe the asserted claims.

          In support of its contention that most of SRC’s third-party subpoenas should be quashed in

  their entirety, Xilinx cites Micro Motion, Inc. v. Kane Steel Co., 894 F.2d 1318 (Fed. Cir. 1990).

  In that case, the Federal Circuit held that a discovery request directed to a third party is not justified

  solely by virtue of the fact “[t]hat the discovery might uncover evidence showing that a plaintiff

  has a legitimate claim.” Id. at 1327. The court in Micro Motion noted that the plaintiff sought

  discovery from a non-party based on a “suspicion of infringement” by the non-party. Id. The

  court added that “[a]n unfounded suspicion regarding [a third party’s] infringement does not

  support discovery into that subject matter.” Id. That case is distinguishable from this one,

  however, because in this case SRC is targeting customers who have purchased specific products

  from Xilinx that SRC alleges can be used to infringe the asserted claims. That evidence, although

  insufficient by itself to prove infringement by the third parties or induced infringement by Xilinx,




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  nevertheless rises above the level of the “unfounded suspicion” that the court in Micro Motion

  addressed. See id.

                 b. Need

         With respect to need, it is clear that SRC has a need for information from third parties

  demonstrating that the parties practice the asserted claims.           Without evidence of direct

  infringement by a third party, SRC will be unable to establish inducement of infringement by

  Xilinx. See Power Integrations, Inc. v. Fairchild Semiconductor Int’l, Inc., 843 F.3d 1315, 1332

  (Fed. Cir. 2016). And Xilinx has suggested at various points in this case that it is typically unaware

  of how specific customers use its products. As a result, the information SRC seeks is likely to be

  “uniquely available” from the parties that SRC is targeting with its subpoenas. See AbbVie, 2018

  WL 2337133, at *2 (citation omitted).

                 c. Confidentiality

         It is not clear whether the information SRC seeks will be confidential to the third parties

  that are targeted by the subpoenas. I do not find that this factor weighs heavily in the analysis,

  however, because any confidential information of third parties can be protected, upon request of

  the third parties, using confidentiality designations consistent with the protective order already

  entered in this case. See Dkt. No. 49, and April 8, 2021, order of court.

                 d. Harm

         The potential harm to Xilinx’s customers, and by extension to Xilinx itself, is significant.

  As noted, SRC’s requests are quite broad. Each target of a subpoena will need to respond to it,

  and SRC acknowledges that many targets are likely to be cautious in responding, given that SRC

  is seeking evidence that those customers infringe the asserted patent. Dkt. No. 134, Exh. C.

  Because of the nature of the information sought, many of the subpoenaed parties may feel it



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  necessary to retain counsel before responding to the subpoenas, at significant cost. Moreover, as

  Xilinx points out, the imposition of costs associated with responding to the subpoenas “directly

  harms [those] customers’ willingness to continue doing business with Xilinx.” Dkt. No. 134 at 5.

         It is true, as SRC suggests, that Xilinx has not provided “specific examples to substantiate

  any hypothetical harm to its customers.” Dkt. No. 142 at 4. For example, Xilinx does not offer

  any evidence of communications between Xilinx and its customers regarding SRC’s subpoenas.

  It does stand to reason, however, that the breadth of the subpoenas will require a significant

  commitment of resources from the targets of the subpoenas, and that customers may be less

  inclined to do business with Xilinx as a result. I therefore conclude that there is some potential

  harm to both Xilinx and its customers from the subpoenas, but that the nature and degree of that

  harm has not been shown with specificity.

                                                * * *

         Upon weighing the four relevant factors, I conclude that discovery directed to Xilinx’s

  customers should proceed in an iterative manner and in a different fashion with regard to different

  groups of third parties. With respect to the customers that Xilinx has identified as possibly using

  the accused functionality and the two additional foreign customers identified by SRC that are

  discussed above, 3 I conclude that there is a sound basis for concluding that those customers may

  have relevant information, and that SRC’s need for that information outweighs the potential harm

  that may result from requests to those customers for the information sought in SRC’s subpoenas.

  SRC therefore need not withdraw or limit the subpoenas it has issued to those customers or any

  similar subpoenas it may issue to those customers in the future.




         3
            For clarity, the customers identified by Xilinx are Ericsson, Amazon, IBM, and
  Microsoft. The foreign customers identified by SRC are Nokia Oyj, and Napatech A/S.
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            Similarly, in light of Xilinx’s concession with regard to the subpoenas to Google and

  Qualcomm, I will not require the subpoenas to those companies to be withdrawn or limited.

            With respect to the remaining third-party domestic customers, however, the likelihood that

  those subpoenas will produce relevant information is entirely dependent on whether the targeted

  customer practices the accused functionality. If the targeted customer does use the accused

  functionality, the information SRC requests will likely be relevant to the action. But if the targeted

  customer does not use the accused functionality, the information SRC requests will likely have no

  relevance to this case. I find that at this point SRC has provided little reason to believe that any of

  the remaining third-party domestic customers are direct infringers of the ’311 patent, or that Xilinx

  has induced any of those customers to infringe the patent. For that reason, the risk of harm to

  Xilinx and the potential burden on that group of customers outweighs the speculative possibility

  that the broad subpoenas to any of those customers may generate relevant evidence. See Joy

  Techs., Inc. v. Flakt, Inc., 772 F. Supp. 842, 849 (D. Del. 1991) (concluding that third-party

  customers are “entitled to protection” absent “a specific need for evidence available only from

  third party customers”). I will therefore allow SRC to request only the documents listed in request

  number 4, identified above, 4 from any of Xilinx’s other domestic customers. In that more limited

  form, the subpoenas will allow SRC to determine whether the targeted customer practices the

  accused functionality while minimizing the burden on Xilinx’s customers, and by extension,

  Xilinx.




            4
            Request number 4 seeks “Documents sufficient to show each of Your products and/or
  services that currently utilizes the Self-Refresh Functionality of any Accused Product or that
  previously did so at any time during the period from October 2015 to present.” Dkt. No. 142, Exh.
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         If further discovery reveals either (1) that Xilinx has engaged in conduct that could fairly

  be viewed as inducing particular customers to practice the methods claimed in the asserted patent,

  or (2) that particular Xilinx customers are in fact practicing the accused functionality, I will permit

  SRC to serve a supplemental subpoena of greater breadth directed to those customers as to which

  a showing of possible inducement by Xilinx, or possible direct infringement by the customers has

  been made. For the present, however, a broad demand for information from 80 or more customers

  of Xilinx, based on no indication that those customers are direct infringers or that Xilinx has taken

  any steps that would constitute inducement for those customers to infringe, is not justified. Before

  serving any such supplemental subpoena, as described in this paragraph, on any of the remaining

  third-party customers of Xilinx, SRC must seek leave of court.

         In summary, and to be clear, SRC will be allowed to issue only limited subpoenas to any

  third-party domestic customers of Xilinx absent a showing either that Xilinx induced infringement

  by the customer being targeted or that the customer being targeted uses the accused functionality.

  A sufficient showing exists for Amazon, IBM, and Microsoft, and the subpoenas already served

  on those three customers may remain in effect. Likewise, the subpoenas to Google and Qualcomm

  may remain in effect, and discovery directed to foreign customers Ericsson, Nokia Oyj, and

  Napatech A/S that is commensurate in scope with the subpoenas already served on the domestic

  customers will be permitted. All other subpoenas must be withdrawn except to the extent that they

  request documents identified in request number 4 of SRC’s subpoena to Google or to the extent

  that those subpoenas have already been responded to. See Dkt. No. 142, Exh. A, at 4. SRC is

  directed to inform the remaining Xilinx customers on which such subpoenas have been served that

  in light of this court’s order, they are required at this time to respond only to paragraph 4 (or the

  equivalent paragraph) of the subpoena. Xilinx will be permitted to confirm that instruction with



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  the targeted customers if it elects to do so. No broader subpoenas directed to Xilinx’s domestic

  customers may be issued by SRC without first seeking leave of court.

         In an abundance of caution, this order has been filed under seal because some of the parties’

  initial briefs and exhibits regarding the present motions were filed under seal. See, e.g., Dkt. Nos.

  118, 126, 132. Within three days of the issuance of this order, the parties are directed to advise

  the court by letter whether they wish any portions of the order to remain under seal. Any request

  that portions of the order should remain under seal must be supported by a particularized showing

  of need to limit public access to those portions of the order.

         IT IS SO ORDERED.

         SIGNED this 8th day of April, 2022.




                                                ______________________________

                                                WILLIAM C. BRYSON
                                                UNITED STATES CIRCUIT JUDGE




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